ORIGIN ID:TSSA ia 244-8585 SHIP DATE: 15JAN24
JASON GOODMAN (NYC) : ACTWGT: 1,00 LB

21ST CENTURY 3D CAD: 3250694/INET4660
252 7TH AVENUE

NEW YORK, NY 10004 BILL SENDER
_UNITED STATES US

to CLERK OF THE COURT :
US POST OFFICE AND COURTHOUSE ~
201 JACKSON STREET
SUITE 215
MONROE LA 71201

ea 322-6740 REF

56G./3IB01 40S

DEFT:

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J234027101501u9

FedEx Ship Manager - Print Your Label(s)

TUE - 16 JAN 5:00P
STANDARD OVERNIGHT

7748 1875 0649

71201

XA MLUA xx SHV

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1/15/24,4:11 PM

